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                                                 6    Attorneys for
                                                      Richard M Kipperman, Chapter 11 Trustee
                                                 7

                                                 8
                                                                               UNITED STATES BANKRUPTCY COURT
                                                 9
                                                                                      Southern District of California
                                                 10
MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.




                                                 11   In re                                            Case No. 13-11672-LT11
                                                 12   LIVE OAK HOLDING, LLC,                           Chapter 11
                                                 13                              Debtor.               DECLARATION OF RICHARD M
                                                                                                       KIPPERMAN IN SUPPORT OF MOTION
                                                 14                                                    FOR ORDER (1) APPROVING BIDDING
                                                                                                       AND SALE PROCEDURES; (2)
                                                 15                                                    APPROVING SALE OF WATER
                                                                                                       COMPANY AND RELATED ASSETS
                                                 16                                                    FREE AND CLEAR OF INTERESTS,
                                                                                                       LIENS AND ENCUMBRANCES
                                                 17                                                    PURSUANT TO 11 U.S.C. § 363(F); AND (3)
                                                                                                       GRANTING RELATED RELIEF
                                                 18
                                                                                                       Date:        February 14, 2019
                                                 19                                                    Time:        10:00 a.m.
                                                                                                       Dept.:       3
                                                 20                                                    Judge:       Laura S. Taylor
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                                                  1              I, Richard M Kipperman, declare:
                                                  2              1.       I am the chapter 11 trustee of Live Oak Holding, LLC (the “Debtor”). I make this
                                                  3   declaration in support of the Motion for Order (1) Approving Bidding and Sale Procedures; (2)
                                                  4   Approving Sale of Water Company and Related Assets Free and Clear of All Liens, Claims,
                                                  5   Encumbrances, and Interests Pursuant to 11 U.S.C. § 363(f); and (3) Granting Related Relief (the
                                                  6   “Sale Motion”), filed concurrently herewith.1 I have personal knowledge of the facts stated herein,
                                                  7   and if called as a witness, I would testify competently thereto.
                                                  8              2.       Through the Motion, I seek approval of the bidding and sale procedures set forth in
                                                  9   the Motion for the sale of and authorization to sell a(a) Live Oak Springs Water Company, a water
                                                 10   utility (the “Water Company”), (b) approximately 27 acres of real property located at 37820 Old
MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.




                                                 11   Highway 80, Boulevard, California with APNs 609-050-03-00, 609-050-06-00, 609-086-03-00, 609-
                                                 12   071-01-00, and 609-090-07-00 occupied by the Water Company and the improvements thereon
                                                 13   (including groundwater wells and three 20,000 gallon water storage tanks) (the “Real Property”);
                                                 14   and (c) all assets owned by the Water Company and/or owned by the Debtor and used by the Water
                                                 15   Company, including, but not limited to, machinery, equipment, hardware, materials, fixtures, trade
                                                 16   fixtures, storage units, vehicles, tools, and books and records (together with the Water Company and
                                                 17   the Real Property, the “Assets”), to DD Axiom Resources LLC (“DD Axiom”), the stalking horse
                                                 18   bidder, free and clear of all interests, liens, claims and encumbrances.
                                                 19              3.       I am aware of the following alleged interests, claims, liens and encumbrances in the
                                                 20   Assets and intends to sell the Assets free and clear of such interests, claims, liens and encumbrances:
                                                 21                       a.       San Diego County Treasurer-Tax Collector: The San Diego County
                                                 22   Treasurer-Tax Collector filed a proof of claim asserting a secured claim against the Debtor’s real
                                                 23   property, including the Real Property, in the amount of $255,481.22, of which $22,325.67 is
                                                 24   attributable to the Real Property. (Claim No. 5-1.) As of July 31, 2018, real property taxes of
                                                 25   approximately $48,500 have been assessed against the Real Property. Any real property taxes
                                                 26   attributable to the Real Property will be paid from the proceeds of the sale.
                                                 27
                                                      1
                                                 28       Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.
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                                                  1           4.     I have marketed the Assets as follows:
                                                  2                  a.      Initially, in mid-2016, due to the requirement that the California Public
                                                  3   Utilities Commission (the “CPUC”) approve the sale of the Water Company, I focused my
                                                  4   marketing efforts on existing water utilities, which could obtain approval from the CPUC on an
                                                  5   expedited basis. I consulted with several water utility industry associations, a consulting firm
                                                  6   specializing in the valuation of water utilities, the CPUC, and the San Diego Department of
                                                  7   Environmental Health regarding the most effective method for marketing the Water Company to
                                                  8   these water utilities. Based on my discussions with these entities, I engaged in direct marketing to
                                                  9   several local water utilities. Although my direct marketing resulted in extensive discussions, no
                                                 10   water utilities ultimately made an offer to purchase the Water Company. In addition, advertisements
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                                                 11   for the Water Company were placed in the San Diego Union Tribune, newsletters published by
                                                 12   several industry associations, and the National Association of Bankruptcy Trustees.
                                                 13                  b.      After these marketing efforts proved unsuccessful, I sought to retain a broker
                                                 14   to market the Water Company. Because I was unable to identify a broker specializing in water
                                                 15   utilities, I decided to retain Pacific Commercial Management Inc. (“Pacific”), which had previously
                                                 16   assisted me in the sale of other real property of the Debtor, as my real estate broker to market and
                                                 17   sell the Assets. Subsequently, on June 1, 2017, the Court entered an order authorizing Pacific’s
                                                 18   retention.
                                                 19                  c.      Since its retention, Pacific continually marketed the Assets by: (a) preparing
                                                 20   marketing materials; (b) providing due diligence materials to prospective purchasers; (c) showing the
                                                 21   Assets to prospective purchasers; and (d) listing the Real Property on various commercial real estate
                                                 22   websites. Among other marketing efforts, Pacific commenced negotiations with several local water
                                                 23   utility operators, engaged in direct marketing of the Water Company to professionals serving the
                                                 24   water utility industry, prepared and placed an advertisement for the Water Company in the
                                                 25   newsletter published by the American Water Works Association (which reached over 100,000 water
                                                 26   utility professionals), and placed an advertisement for the Water Company with the Southern
                                                 27   California Water Utilities Association.
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                                                  1                  d.      On or about July 3, 2018, I received an offer from DD Axiom to purchase the
                                                  2   Assets for $175,000 (the “Original Bid”). After negotiations, I entered into an Agreement for
                                                  3   Purchase and Sale of Assets (as amended, the “APA”) with DD Axiom, a true and correct copy of
                                                  4   which is attached hereto as Exhibit 1, which sets forth the terms and conditions of the Original Bid.
                                                  5   Following the completion of due diligence, DD Axiom offered a reduced purchase price of
                                                  6   $150,000, which I accepted (the “Stalking Horse Bid”). A true and correct copy of the amendment
                                                  7   to the APA memorializing the price reduction is attached hereto as Exhibit 2.
                                                  8                  e.      Pacific will continue to market the Water Company and the Real Property by
                                                  9   listing the Water Company and the Real Property on various commercial real estate websites and by
                                                 10   contacting each potential purchaser who previously expressed interest in the Water Company to
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                                                 11   inform these potential purchasers of the Bidding Procedures and Auction (as defined below). In
                                                 12   addition, I will list the Water Company on the website of the National Association of Bankruptcy
                                                 13   Trustees.
                                                 14           5.     I believe that the marketing efforts described above are reasonable and appropriate
                                                 15   under the circumstances, and will maximize the proceeds to the estate from the sale of the Assets.
                                                 16           6.     I believe that the bidding procedures, auction, and sale procedures (the “Bidding
                                                 17   Procedures”) proposed pursuant Motion and set forth in the Memorandum of Points and Authorities
                                                 18   filed in support of the Motion to effectuate the sale of the Assets constitute the best method to
                                                 19   maximize the proceeds from the sale of the Assets for the benefit of the Estate’s creditors.
                                                 20           7.     I further believe that the Bidding Procedures will allow me to promptly review,
                                                 21   analyze and compare all bids received to purchase the Assets to determine which bid is in the best
                                                 22   interests of the Debtor’s estate and creditors. Such procedures will also increase the likelihood that
                                                 23   the Debtor’s creditors will receive the greatest possible consideration for the Assets because they
                                                 24   will ensure a competitive and fair bidding process.
                                                 25   ///
                                                 26   ///
                                                 27   ///
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                                  EXHIBIT A
                               QUITCLAIM DEED




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RECORDING REQUESTED BY:



WHEN RECORDED MAIL DEED
AND TAX STATEMENTS TO:

DD Axiom Resources LLC
2323 San Juan Road
San Diego, CA 92103


APN:    609-050-03-00, 609-050-06-00, 609-086-03-00,             Space above this line for Recorder’s use only
        609-071-01-00, and 609-090-07-00


 THE UNDERSIGNED GRANTOR(s) DECLARE(s)                    Documentary Transfer Tax is $192.50.
  City of                                                 computed on full value of interest or property
                                                          conveyed, or
  Unincorporated area                                     computed full value less value of liens or
                                                          encumbrances remaining at the time of sale

                                         QUITCLAIM DEED

         FOR GOOD AND VALUABLE CONSIDERATION, receipt of which is hereby
acknowledged, RICHARD M KIPPERMAN, as Chapter 11 Trustee of Live Oak Holding, LLC, a
Nevada limited liability corporation, debtor in Case No. 13-11672-LT11, pending in the United
States Bankruptcy Court for the Southern District of California (“Grantor”), hereby
QUITCLAIMS AND CONVEYS to DD AXIOM RESOURCES LLC, a California limited
liability company (“Grantee”), those certain parcels of real property located in the County of San
Diego, State of California, as more specifically described on Exhibit A attached hereto and made a
part hereof, and subject to all matters of record and all matters discoverable by inspection or
survey.

        Dated this __________ day of __________________, 2019.


                                                  GRANTOR:

                                                  LIVE OAK HOLDING, LLC
                                                  a Nevada limited liability corporation


                                                  By:
                                                  Richard M Kipperman
                                                  Chapter 11 Trustee for Live Oak Holding, LLC,
                                                  a Nevada limited liability corporation
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 A notary public or other officer completing this certificate
 verifies only the identity of the individual who signed the
 document to which this certificate is attached, and not the
 truthfulness, accuracy, or validity of that document.



STATE OF CALIFORNIA )
                    )
COUNTY OF SAN DIEGO )


On ____________________ before me, _____________________________________, a notary
public, personally appeared RICHARD M KIPPERMAN, as Chapter 11 Trustee for Live Oak
Holding, LLC, a Nevada limited liability corporation, who proved to me on the basis of
satisfactory evidence to be the person(s)whose name(s) is/are subscribed to the within instrument
and acknowledged to me that he/she/they executed the same in his/her/their authorized
capacity(ies) and that by his/her/their signature(s)on the instrument the person(s), or the entity
upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.



Signature __________________________________ (seal)
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                                  EXHIBIT B
                                 BILL OF SALE




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                                          BILL OF SALE

        This BILL OF SALE (this “Bill of Sale”) is made and entered into as of this __ day of
________, 2019 by and between Richard M Kipperman, the Chapter 11 Trustee of Live Oak
Holding, LLC, a Nevada limited liability company (“Seller”), and DD Axiom Resources LLC, a
California limited liability company (“Buyer”). Buyer and Seller are collectively referred to
herein as the “Parties” and individually as a “Party”.

        WHEREAS, this Bill of Sale is made and entered into in connection with the Closing of
the transactions contemplated by that certain Agreement for Purchase and Sale of Assets dated as
of September 24, 2018 (the “Asset Purchase Agreement”), by and among the Parties;

        WHEREAS, Seller has agreed to sell to Buyer, and Buyer has agreed to purchase from
Seller, for the consideration and upon the terms and conditions set forth in the Asset Purchase
Agreement, the Assets;

       WHEREAS, the execution and delivery of this Bill of Sale is required by Section 4.3 of
the Asset Purchase Agreement; and

       WHEREAS, this Bill of Sale, as duly executed by each Party, is being delivered as of the
date hereof by each party hereto to the other party effective as of the Closing Date.

        NOW, THEREFORE, in consideration of the foregoing and the covenants and agreements
herein contained, and other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, and intending to be legally bound hereby, the Parties do hereby agree
as follows:

      1.     Definitions. Capitalized terms used but not defined herein shall have the respective
meanings given to such terms in the Asset Purchase Agreement.

        2.      Transfer of Purchased Assets. Seller hereby sells, transfers, assigns, conveys,
grants and delivers to Buyer all of Seller’s right, title to and interest in all of the Assets, free and
clear of liens, encumbrances or interests of any nature whatsoever, including all liens related to
real property taxes, with such Assets being sold, transferred, assigned, conveyed, granted and
delivered to Buyer. The Assets include the following:

                (a)    The Water Company, defined in the Asset Purchase Agreement as Live Oak
                Springs Water Company, a Class D water utility providing public utility water
                service to approximately one hundred customers in San Diego County and
                occupying the Real Property described in (b) below;

                (b)    The Real Property, defined as approximately 27 acres of real property
                located at 37820 Old Highway 80, Boulevard, California with APNs 609-050-03-
                00, 609-050-06-00, 609-086-03- 00, 609-071-01-00, and 609-090-07-00; and

                (c)    The improvements on the Real Property (including groundwater wells and
                three 20,000 gallon water storage tanks), and all assets owned by the Water
                Company and/or owned by the Debtor and used by the Water Company, including,


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                but not limited to, any and all machinery, equipment, hardware, materials, fixtures,
                trade fixtures, storage units, vehicles, tools, and books and records, including the
                information necessary to provide service to the Customers.

         3.     Terms of Asset Purchase Agreement. This Bill of Sale is executed and delivered
pursuant to the Asset Purchase Agreement. In the event of a conflict between the terms and
conditions of this Bill of Sale and the terms and conditions of the Asset Purchase Agreement, the
terms and conditions of the Asset Purchase Agreement shall govern, supersede and prevail.
Notwithstanding anything to the contrary in this Bill of Sale, nothing herein is intended to, nor
shall it, extend, amplify or otherwise alter any representation, warranty, covenant or obligation
contained in the Asset Purchase Agreement.

        4.     Governing Law. This Bill of Sale shall be construed, performed and enforced in
accordance with, and governed by, the Laws of the State of California (without giving effect to the
principles of conflicts of Laws thereof), except to the extent that the Laws of such State are
superseded by the Bankruptcy Code or other applicable federal Law.

       5.     Successors and Assigns. This Bill of Sale shall inure to the benefit of and be
binding upon the Parties and their respective successors and permitted assigns.

        6.      Closing Date. This Bill of Sale is to be effective as of the Closing Date.

       7.      Counterparts. This Bill of Sale may be executed in two or more counterparts, all
of which shall be considered one and the same instrument and shall become effective when
counterparts have been signed by each party and delivered to each other party. In the event that
any signature is delivered by facsimile transmission or by an e-mail which contains a portable
document format (.pdf) file of an executed signature page, such signature page shall create a valid
and binding obligation of the party executing (or on whose behalf such signature is executed) with
the same force and effect as if such signature page were an original thereof.

        8.      Severability; Amendment. Any provision in this Bill of Sale which is illegal,
invalid or unenforceable shall be ineffective to the extent of such illegality, invalidity or
unenforceability, without affecting in any way the remaining provisions hereof. This Bill of Sale
may not be amended except by execution and delivery of an instrument in writing signed by
officers of Seller and Purchaser on behalf of Seller and Purchaser.

      9.       Notices. Any notice given pursuant to this Bill of Sale shall be given in the same
manner as stated in Section 11.8 of the Asset Purchase Agreement.

         10.      Seller. Seller is Richard M Kipperman, the Chapter 11 Trustee of Live Oak
Holding, LLC, a Nevada limited liability company (sometimes dba Live Oak Enterprises, LLC,
Live Oak Springs Water Company, and/or Live Oak Springs Water and Power Company), and by
this Bill of Sale Seller sells, transfers, assigns, conveys, grants and delivers to Buyer all of Seller’s
right, title to and interest in all of the Assets owned by any and all such entities as set forth in the
Asset Purchase Agreement.

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        IN WITNESS WHEREOF, the Parties have caused this Bill of Sale to be executed as of
the date first set forth above.

      SELLER:

      LIVE OAK HOLDING, LLC
      a Nevada limited liability company

      Sometimes dba Live Oak Enterprises, LLC,
      Live Oak Springs Water Company, and/or
      Live Oak Springs Water and Power Company


      By:    _________________________
             Richard M Kipperman
             Chapter 11 Trustee


      BUYER:

      DD AXIOM RESOURCES LLC
      a California limited liability company


      By:    _________________________
             Deborah Wilson
             Manager
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